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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

UNITED STATES                                  )
                                               )
       v.                                      )          CR. No. 2:23-cr-20191-MSN
                                               )
EMMITT MARTIN, III                             )

   MOTION TO DISMISS COUNT ONE FOR IMPROPERLY ALLEGING WILLFUL
                       FAILURE TO INTERVENE

                                                   -OR-

                             MOTION TO STRIKE SURPLUSAGE

       The defendant, Emmitt Martin, III, through counsel and pursuant to the Fifth and Sixth

Amendments to the United States Constitution; 18 U.S.C. § 242; Federal Rules of Criminal

Procedure 7 and 12(b)(3); Chaney-Snell v. Young, 98 F.4th 699 (6th Cir. 2024); and Turner v.

Scott, 119 F.3d 425 (6th Cir. 1997), respectfully moves this Court to dismiss Count 1 of the

indictment, which purports to charge a violation of 18 U.S.C. § 242, because the phrase “willfully

failed to intervene in the unlawful assault” does not track the language of the statute, see 18 U.S.C.

§ 242; because the Fourth Amendment right to be free from unreasonable seizure does not impose

an affirmative duty to prevent unreasonable seizures, see Chaney-Snell v. Young, 98 F.4th 699,

721 (6th Cir. 2024) (stating that text of the Fourth Amendment “does not obviously cover the

failure to stop such seizures”), and because, even assuming that the failure to intervene can be a

proper basis for a conviction for a violation of 18 U.S.C. § 242, Count 1 fails to state an offense

because the government failed to allege that the defendants had a duty to act, which is an essential

element for liability based on the failure to act, see, e.g., Turner v. Scott, 119 F.3d 425, 429 (6th

Cir. 1997) (liability based on another’s use of force must include showing that officer “owed the

victim a duty of protection against the use of excessive force”). By including a theory of culpability
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based on willful failure to intervene, the government has invited the jury to convict on a legally

inadequate basis, not only impermissibly lowering the quantum of proof required for a conviction

of 18 U.S.C. § 242 but also violating due process notice requirements. Consequently, this Court

should dismiss Count 1 of the indictment or, alternatively, should strike the phrase “and willfully

failed to intervene in the unlawful assault” from that count because it contains “nonessential

allegations that could prejudicially impress the jurors.” United States v. Kemper, 503 F.2d 327,

329 (6th Cir. 1974) (defining standard for striking of surplusage).

               In further support thereof, Mr. Martin presents the following:

       1.      Mr. Martin, along with former Memphis Police Department officers Tadarrius

Bean, Demetrius Haley, Desmond Mills, Jr., and Justin Smith, were jointly charged in a four-count

indictment with two counts of depriving Mr. Nichols’s of his civil rights (Counts 1 and 2) and two

counts of witness tampering (Counts 3 and 4) arising from Mr. Nichols’s arrest and its aftermath.

See (Indictment, Doc. 2, PageIDs 8–14). Counts 1 and 2 are punishable by life imprisonment or

death. See (Indictment, ECF 2); (Notice of Penalties, ECF 1.).

       2.      Count 1 charges that Mr. Martin and his co-defendants “while acting under color

of law” and “while aiding and abetting one another” “willfully deprived” Mr. Nichols “of the

right . . . to be free from an unreasonable seizure, which includes the right to be free from the use

of unreasonable force by a police officer.” See (Indictment, ECF. 2, Page ID 9.) The indictment

specifies that Mr. Martin and his co-defendants “unlawfully assaulted Nichols and willfully failed

to intervene in the unlawful assault.” See id. (emphasis added).

       3.      The proscribing statute, 18 U.S.C. § 242, contemplates an affirmative action as

opposed to a mere failure to act: any person who, “under color of any law, statute, ordinance,

regulation, or custom, willfully subjects any person in any State, Territory, Commonwealth,
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Possession, or District to the deprivation of any rights, privileges, or immunities secured or

protected by the Constitution or laws of the United States.” 18 U.S.C.S. § 242 (emphasis added).

       4.      Although a police officer may be liable for the failure to prevent the use of

excessive force, the “failure-to-intervene theory” of liability is not derived from the Fourth

Amendment, which “does not obviously cover the failure to stop such seizures.” Chaney-Snell v.

Young, 98 F.4th 699, 721 (6th Cir. 2024) (citing U.S. Const. amend. IV) (discussing origin of

“failure-to-intervene theory” of liability in § 1983 action); but see United States v. Thao, 76 F.4th

773, 777-78 (8th Cir. 2023) (affirming conviction under 18 U.S.C. § 242 for officer’s failure to

intervene when government proved that officer knew that his fellow officers’ use of force “was

unreasonable and (2) he had a duty to intervene in another officer’s use of unreasonable force”);

United States v. Broussard, 882 F.3d 104, 110 (5th Cir. 2018) (stating that “[a] law enforcement

officer may be held liable under Section 242 for the substantive offense if the evidence shows

awareness of a constitutional violation and no effort to prevent the violation”).

       5.      Because the Fourth Amendment right to be free from unreasonable seizure does not

include “the failure to stop such seizures,” Chaney-Snell v. Young, 98 F.4th 699, 721 (6th Cir.

2024) (citing U.S. Const. amend. IV), the inclusion of language alleging that Mr. Martin and his

co-defendants violated 18 U.S.C. § 242 by depriving Mr. Nichols of the Fourth Amendment right

to be free from unreasonable seizure by “willfully fail[ing] to intervene in the assault” of Mr.

Nichols is a factual allegation that is not only legally irrelevant but also impermissibly lowers the

burden of proof necessary for a conviction under Section 242 because it would encourage the jury

to convict on a legally inadequate basis.

       6.      Even if the “failure to intervene theory” of liability derives from a constitutional

rather than a statutory source, Chaney-Snell v. Young, 98 F.4th 699, 721 (6th Cir. 2024) (theorizing
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that “§ 1983’s text incorporates this duty to intervene into the statute itself rather than the

Constitution” (citing Manuel v. City of Joliet, 580 U.S. 357, 370 (2017)), it arises only when the

officer “owed the victim a duty of protection against the use of excessive force,” Turner v. Scott,

119 F.3d 425, 429 (6th Cir. 1997). Consequently, to properly plead a violation of 18 U.S.C. 242

based on the failure to intervene, the officer’s duty to act is an essential element that must be

included in the indictment. Because Count 1 does not allege that Mr. Martin owed a duty to Mr.

Nichols, that count is fatally defective and should be dismissed.

       7.      If the Court concludes that the inclusion of the phrase “willfully failed to intervene

in the unlawful assault” does not render the indictment fatally defective, it should strike this

language as surplusage because it is irrelevant and highly prejudicial because it invites the jury to

convict on a legally inadequate basis. See Fed. R. Crim. P. 7(d) (“Upon the defendant’s motion,

the court may strike surplusage from the indictment or information.”); United States v. Kemper,

503 F.2d 327, 329 (6th Cir. 1974) (stating that Rule7(d) is “properly invoked when an indictment

contains nonessential allegations that could prejudicially impress the jurors”).

               Respectfully submitted this 1st day of June, 2024, by:

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                                     CERTIFICATE OF SERVICE

         I certify that on June 1, 2024, a copy of the foregoing was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may
access this filing through the Court’s electronic filing system.

                                            s/Stephen Ross Johnson
